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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

LUCAS HORTON,                         §
          Plaintiff,                  §
                                      §
VS.                                   §
                                      §    CIVIL ACTION NO. _______________
TARRANT COUNTY HOSPITAL               §
DISTRICT D/B/A JPS HEALTH             §
NETWORK,               Defendant.     §


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NO.   DOCUMENT                                                    FILE DATE

1.    Plaintiff’s Original Petition                               11/19/2021

2.    Original Civil Citation                                     11/22/2021
